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From:             ice-foia@ice.dhs.gov
To:               mdoherty@bds.org
Subject:          ICE FOIA 2024-ICFO-01546
Date:             Friday, November 17, 2023 8:22:13 AM




                                                         11/17/2023

Michelle Doherty
156 Pierrepont Street
Brooklyn, New York 11201

RE:   ICE FOIA Case Number 2024-ICFO-01546

Dear Requester:

This acknowledges receipt of your 10/12/2023, Freedom of Information Act (FOIA) request to U.S.
Immigration and Customs Enforcement (ICE), for records pertaining to the unlawfully disclosed Mr.
Singh’s personally identifiable information (“PII”), and information related to his removal
proceedings. Your request was received in this office on 10/12/2023.

Due to the increasing number of FOIA requests received by this office, we may encounter some
delay in processing your request. Per Section 5.5(a) of the DHS FOIA regulations, 6 C.F.R. Part 5, ICE
processes FOIA requests according to their order of receipt. Although ICE’s goal is to respond within
20 business days of receipt of your request, the FOIA does permit a 10-day extension of this time
period. As your request seeks numerous documents that will necessitate a thorough and wide-
ranging search, ICE will invoke a 10-day extension for your request, as allowed by Title 5 U.S.C. §
552(a)(6)(B). If you’re able to narrow the scope of your request please contact our office. Narrowing
the scope may speed up the search process. We will make every effort to comply with your request
in a timely manner.

Provisions of the FOIA allow us to recover part of the cost of complying with your request. We shall
charge you for records in accordance with the DHS Interim FOIA regulations as they apply to non-
commercial requesters. As a non-commercial requester, you will be charged 10 cents per page for
duplication; the first 100 pages are free, as are the first two hours of search time, after which you
will pay the per quarter-hour rate ($4.00 for clerical personnel, $7.00 for professional personnel,
$10.25 for managerial personnel) of the searcher. We will construe the submission of your request
as an agreement to pay up to $25.00. You will be contacted before any further fees are accrued.

We have queried the appropriate program offices within ICE for responsive records. If any
responsive records are located, they will be reviewed for determination of releasability. Please be
assured that one of the processors in our office will respond to your request as expeditiously as
possible. We appreciate your patience as we proceed with your request.

If you have any questions, please contact FOIA Public Liaison, Fernando Pineiro Jr. at the address
above or (866) 633-1182. Additionally, you have a right to seek dispute resolution services from the
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Office of Government Information Services (OGIS) which mediates disputes between FOIA
requesters and Federal agencies as a non-exclusive alternative to litigation. If you are requesting
access to your own records (which is considered a Privacy Act request), you should know that OGIS
does not have the authority to handle requests made under the Privacy Act of 1974. You may
contact OGIS as follows: Office of Government Information Services, National Archives and Records
Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-
5769.

Your request has been assigned reference number 2024-ICFO-01546. Please use this number in
future correspondence.




Sincerely,

ICE FOIA Office
Immigration and Customs Enforcement
Freedom of Information Act Office
500 12th Street, S.W., Stop 5009
Washington, D.C. 20536-5009
